          Case 1:17-cv-08691-SHS Document 31 Filed 03/19/18 Page 1 of 2



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



THE BANK OF TOKYO-MITSUBISHI UFJ,
LTD.,                                                                1:17-cv-08691-SHS


                              Plaintiff,

                         v.


MARIA VULLO, in her official capacity as
Superintendent of Financial Services of the New
York State Department of Financial Services,

                              Defendant.


                          NOTICE OF PLAINTIFF’S MOTION
                     TO DISMISS DEFENDANT’S COUNTERCLAIMS

               PLEASE TAKE NOTICE that, upon the accompanying Memorandum in

Support of Plaintiff’s Motion to Dismiss Defendant’s Counterclaims, Plaintiff The Bank of

Tokyo-Mitsubishi UFJ, Ltd., by and through its undersigned counsel, will move this Court,

before the Honorable Sidney H. Stein, United States District Judge, for an order pursuant to Rule

12(b)(6) of the Federal Rules of Civil Procedure dismissing the Counterclaims of Defendant

Maria Vullo, in her official capacity as Superintendent of Financial Services of the New York

State Department of Financial Services, with prejudice for failure to state a claim upon which

relief can be granted, and granting such other and further relief as the Court deems just and

proper.
        Case 1:17-cv-08691-SHS Document 31 Filed 03/19/18 Page 2 of 2



Dated: New York, New York
       March 19, 2018
                                    Respectfully submitted,


                                    By: /s/ Richard C. Pepperman II
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